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                                PX25

        Declaration of John Zajac,
        Better Business Bureau of
        West Florida, with records
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                               PX 25
                               Att. A

            Better Business Bureau
                    Records




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                                                                        PX25-12
Roca Labs FAQ




                                                                                                                      gastric bypass effect NO surgery


                   Video                             FAQ                    Success Stories
             Basic           Maximizing Success                  Medical             Ordering           Videos
           What is "gastric bypass NO surgery" ?

           Gastric bypass with no surgery - see video
           Used successfully in Europe for 6 years, this medical innovation is an easy-to-use formula that
           creates a natural GASTRIC BYPASS EFFECT in the stomach. Mixed with water and taken in the
           morning, it immediately expands in your stomach, leaving only 20% available for food intake
           and forcing you to eat 50% less.
           The result: an immediate calorie deficiency and weight loss from day one. To accelerate
           the process, the formula includes the patented ingredient β-Glucan®, which balances blood
           sugar levels and fights your cravings for sweets and snacks - something that surgery isn’t capable of.
           You'll not only eat less food without feeling hungry, you'll eat healthier too.
           Eat 50% less from day one
           While in the past you required a full meal to fill your stomach and satisfy your hunger, once you're
           using the formula, you can take half a portion and still feel satisfied after. Since the formula
           PHYSICALLY fills your stomach, you have neither the need nor the space for more. At the end of the
           day, you’ll find that even though you ate very little, you felt satisfied and your energy level remained
           high. Without realizing, you entered a state of calorie deficiency, where you ate fewer
           calories than you burned.
           Safer and healthier than gastric bypass
           The formula is probably the strongest and fastest method in the world to lose weight, with a 90%
           success rate. In comparison to gastric bypass surgery, the formula is less risky, faster,
           healthier, and has almost NO SIDE EFFECTS or complications. And at the low
           cost of $640, it’s a fraction of the cost of gastric bypass surgery, which can be $8,000 or more.




 PX25-13
           With RocaLabs™ Natural Gastric Bypass Formula, you finally have the weapon you need to win the
           fight against hunger, cravings, and obesity. You'll lose weight, look better, and improve your health
                                                                                                                                                         Case 8:15-cv-02231-MSS-CPT Document 210-39 Filed 04/26/18 Page 14 of 24 PageID 10298




           easily and naturally. The power to succeed is in your hands.

https://www.rocalabs.com/faq/natural-gastric-bypass.aspx?Id=16&type=1 (1 of 3) [5/18/2011 9:42:53 AM]
Roca Labs FAQ

           Here are some Before & After videos from satisfied users: Tanya, Loren, Jodi, Donna



             Instructions |   Terms |   FDA disclaimer |    Customer Care | Doctor | Send to a friend




           POWERFUL -

           physically prevents you from eating
           This medical innovation is an
           easy-to-use formula that you
           can mix with any drink. Take it
           in the morning and it creates an
           immediate gastric bypass
           effect: only 20% of your
           stomach volume will be
           available for food/calorie intake,
           forcing you to eat 50% less and
           lose weight from day one!

           The patented β-
           Glucan® ingredient
           regulates your blood sugar levels and
           eliminates the body's need for sweets and




 PX25-14
           snacks.
                                                                                                        Case 8:15-cv-02231-MSS-CPT Document 210-39 Filed 04/26/18 Page 15 of 24 PageID 10299




https://www.rocalabs.com/faq/natural-gastric-bypass.aspx?Id=16&type=1 (2 of 3) [5/18/2011 9:42:53 AM]
Roca Labs FAQ


                 ASK US
                 If your question isn't answered here

                               name

                               email
                            question
                                                                               ●




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            Home|Order|Questions|Customer Care|Research|Instructions|Ingredients|Terms|FDA disclaimer|Doctor|Send to a friend


              * This medical innovation is an easy-to-use formula that you can mix with any drink. Take it in the morning and it creates an immediate
           gastric bypass effect: only 20% of your stomach volume will be available for food/calorie intake, forcing you to eat 50% less and lose weight
           from day one! The patented β-Glucan® ingredient regulates your blood sugar levels and eliminates the body's need for sweets and snacks.




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Roca Labs Credentials




                                                                                                       gastric bypass effect NO surgery


           Credentials


                                                                                                          POWERFUL -

                                                                                                          physically prevents you from eating
             FDA Compliance
             The formula is manufactured in an FDA-compliant facility. It is classified as a dietary
                                                                                                          This medical innovation is an
                                                                                                          easy-to-use formula that you
             supplement, and does not requires a doctor's prescription. It adheres to the FDA's
                                                                                                          can mix with any drink. Take it
             guidelines for dietary supplements.
                                                                                                          in the morning and it creates an
             The formula is not regulated or approved by the FDA.                                         immediate gastric bypass
                                                                                                          effect: only 20% of your
                                                                                                          stomach volume will be
                                                                                                          available for food/calorie intake,
                                                                                                          forcing you to eat 50% less and
             American Heart Association
                                                                                                          lose weight from day one!
             The procedure is in line with the American Heart Association's diet & lifestyle
             guidelines (PDF)                                                                             The patented β-
                                                                                                          Glucan® ingredient
                                                                                                          regulates your blood sugar levels and
                                                                                                          eliminates the body's need for sweets and
                                                                                                          snacks.
             Kosher
             The formula and all ingredients are certified Kosher Pareve by Rabbi Don Yoel Levy of
             the OK Organization. Not Kosher for Passover. Kosher Certificate




 PX25-18
                                                                                                             ASK US
                                                                                                             If your question isn't answered here
                                                                                                                                                      Case 8:15-cv-02231-MSS-CPT Document 210-39 Filed 04/26/18 Page 19 of 24 PageID 10303




                                                                                                                          name
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Roca Labs Credentials

                                                                                                                                                     email

                                                                                                                                                  question
                                                                                                                                                             ●




                Good Manufacturing Practice
                The formula is manufactured under United States GMP guidelines, and carries the
                GMP seal of approval. "Good Manufacturing Practice" is part of a quality system
                covering the manufacture and testing of active pharmaceutical ingredients,
                diagnostics, foods, pharmaceutical products, and medical devices.




                All-Natural Active Ingredients
                All active ingredients are natural and are based on healthy fibers: Beta-Glucan, Guar
                Gum, and Xanthan Gum.


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            Home|Order|Questions|Customer Care|Research|Instructions|Ingredients|Terms|FDA disclaimer|Doctor|Send to a friend


              * This medical innovation is an easy-to-use formula that you can mix with any drink. Take it in the morning and it creates an immediate
           gastric bypass effect: only 20% of your stomach volume will be available for food/calorie intake, forcing you to eat 50% less and lose weight
           from day one! The patented β-Glucan® ingredient regulates your blood sugar levels and eliminates the body's need for sweets and snacks.




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